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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 1:21-cr-00057-TNM
                                               :
NICHOLAS RODEAN,                               :
                                               :
                       Defendant.              :


               REPLY IN SUPPORT OF MOTION IN LIMINE REGARDING
                 AUTHENTICATION OF CERTAIN VIDEO EVIDENCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby submits the following reply to its motion in limine regarding the

authentication of certain video evidence at trial. See Dkt. 47. The government’s motion in limine

was filed on the deadline for pretrial motions and seeks a pretrial ruling from the Court on a matter

of authentication of a particular type of video evidence that may impact the government’s trial

presentation. The defendant’s argument that the motion is premature and that it should be denied

without prejudice is without merit.

       On January 3, 2022, the Court set a pretrial motions deadline of April 1, 2022. On that

deadline, the government filed just one motion, the present motion in limine. That motion seeks a

pretrial ruling from the Court regarding the manner in which the government intends to

authenticate, and thereby introduce, certain video evidence at trial. As discussed in the motion in

limine, authentication of such video may be accomplished in a variety of ways, and the government

wishes to determine prior to trial the manner in which it should proceed. Without providing any

legal analysis regarding the issues raised, the defendant argues that the issue should simply wait

until trial; but that risks the sort of uncertainty, disruption, and delay in the trial proceedings that



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motions in limine help to avoid. See Fed. R. Evid. 104 (the Court may determine in advance of

trial “[p]reliminary questions concerning the qualification of a person to be a witness, the existence

of a privilege, or the admissibility of evidence.” (emphasis added). The motion in limine was

properly filed on the Court’s deadline for such motions, and should be granted.

         The defendant also argues that the Court should not exclude from the Speedy Trial Act

calculations the time during which the government’s pretrial motions have been pending. In

addition to the present motion, the government has filed just two others since the Court set the

June 3, 2022, trial date. First, shortly after the Court announced the pretrial motions deadline, the

government filed a motion in limine to preclude cross-examination of witnesses from the United

States Secret Service regarding sensitive matters. The Court denied the motion shortly after it was

filed.

         There is no basis to deny exclusion from the Speedy Trial calculation the time that the

government’s motions in limine were pending. The motions were not only facially valid, but

entirely ordinary. In fact, the government has filed similar motions in other cases involving the

siege of the Capitol. See, e.g., United States v. Cuoy Griffin, Case No. 1:21-cr-92 (D.D.C. 2022)

(Motion to limit cross-examination of Secret Service witness at Dkt. 72 and Motion to admit

Youtube video at Dkt. 69).       That undermines the defendant’s allegations of bad faith and

manipulation.

         Motions in limine can and should be used to request a wide variety of pretrial

determinations. Even seemingly routine and straightforward questions, like the question of

whether documents fall within the “business records exception” to the hearsay rule, may be raised

through a motion in limine. See United States v. Kasvin, 757 F.2d 887, 893 (7th Cir. 1985)

(affirming trial court’s preliminary determination pursuant to Rule 104 that business records were



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admissible pursuant to Rule 803(6)); see also United States v. Hayes, 861 F.2d 1225, 1231 n.4

(10th Cir. 1988) (observing, in connection with noting the admission of evidence under Rule

803(6), that “[i]t is within the trial court’s province to make preliminary determinations regarding

the admissibility of evidence”).

       The government had an additional good-faith purpose in filing these motions beyond

obtaining substantive evidentiary rulings—to use the Court’s and the parties’ time at trial

efficiently. In advance of filing its second motion, the government reached out to counsel for the

defendant to confer regarding various subjects that might be raised through pretrial motion,

including the authenticity of video footage obtained from the United States Capitol Police. The

defendant indicated that he would not be stipulating to any of the items raised by the government,

including the authenticity of the videos. With that understanding, the government went forward

in filing its second motion in limine, in part to streamline its presentation of evidence at trial. It

was at that time that the defendant separately indicated that he needed all discovery from all Capitol

siege defendants in order to be ready for trial.

       Second, the government filed a motion for reconsideration of the Court’s ruling regarding

the Speedy Trial Act. Dkt. 42. This, too, was filed in good faith. The government takes seriously

its obligations under the Speedy Trial Act and is seeking to ensure that the continuance of the trial

date to June 3 continues to be in the interest of justice. In its motion, the government pointed out

multiple valid, statutory reasons for the relief it sought (exclusion of time from Speedy Trial

calculation). See id. Such motions are not pretextual but rather the natural outgrowth of the

dictates of the Act and the calendar applicable in a given case. See United States v. Richardson,

421 F. 3d 17, 29-31 (1st Cir. 2005) (finding no pretext in government’s motion to set a trial date

and exclude delay where government set forth statutory basis for excluding time).



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       There was no bad faith or intent to manipulate the speedy trial calculations attendant upon

the government’s motions. There is no legal basis for this Court to honor the defendant’s request

to not exclude the time associated with these motions from calculation of the Speedy Trial time.

That is especially true where, as here, the defendant has leveled baseless allegations of bad faith

and declined to enter into any stipulations, all while never seeking to press for a speedy trial

because he says he will have difficulty preparing for the trial date the Court has set.

       In all events, the Speedy Trial Act explicitly mandates the exclusion of certain periods of

delay when calculating the 70-days-to-trial requirement. Among the periods of delay that must be

excluded is “delay resulting from any pretrial motion, from the filing of the motion through the

conclusion of the hearing on, or other prompt disposition of, such motion.                18 U.S.C.

§ 3161(h)(1)(F). The motions at issue all qualify as “pretrial motions” for purposes of the Speedy

Trial Act. They called for rulings from the Court, and more importantly, raised contested issues

treated by both the defendant and the Court as motions. The defendant opposed the motion to

reconsider and the instant motion in limine; he might have opposed the first motion in limine, but

the Court ruled on it within days of its filing. The Court also ruled on the motion to reconsider,

and has directed full briefing on the instant motion. See United States v. Van Smith, 530 F.3d 967,

970-71 (D.C. Cir. 2008) (defining a motion for purposes of the Speedy Trial Act as depending at

least in part on whether defendant and Court treated the filing like a motion). The Speedy Trial

Act therefore automatically excludes the time consumed by the briefing and disposition of these

motions, contrary to defendant’s assertions. See United States v. Tinklenberg, 563 U.S. 647, 660

(2011) (“We consequently disagree with the Sixth Circuit that the Act’s exclusion requires a court

to find that the event the exclusion specifically describes, here the filing of the pretrial motion,

actually caused or was expected to cause delay of a trial. We hold that the Act contains no such



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requirement.”); see also United States v. Hemphill, 514 F.3d 1350, 1357 (D.C. Cir. 2008) (“We

have interpreted this phrase to mean what it says: any motion will toll the clock.”).

       Finally, this Court should grant the government’s motion in limine to authenticate certain

video evidence. Dkt. 47. The defendant has raised no meaningful objection to the factual

foundation laid by the motion, and has declined to address any of the legal arguments for the

evidence’s authentication.

                                              Respectfully submitted,

                                              Matthew M. Graves
                                              United States Attorney
                                              D.C. Bar No. 481052

                                      By:     s/ Susan T. Lehr
                                              SUSAN T. LEHR
                                              Assistant United States Attorney
                                              NE BAR No. 19248
                                              Capitol Riot Detailee
                                              1620 Dodge St., #1400
                                              Omaha, NE 68102
                                              (402) 661-3715
                                              Susan.Lehr@usdoj.gov

                                              s/ Cindy J. Cho
                                              CINDY J. CHO
                                              Assistant United States Attorney
                                              Member of NY Bar
                                              Capitol Riot Detailee
                                              10 W. Market St., Ste 2100
                                              Indianapolis, IN 46204
                                              (317) 246-0107
                                              Cindy.Cho@usdoj.gov




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